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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                  §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                  §
                                  §
                    Plaintiff,
                                  § Adv. Proc. No. 21-03004-sgj
 vs.                              §
                                  § Case No. 3:21-cv-881
 HIGHLAND CAPITAL MANAGEMENT FUND §
 ADVISORS, L.P.,                  §
                                  §
                                  §
                    Defendant.    §

 HIGHLAND CAPITAL MANAGEMENT, L.P.,                     §
                                                        §
                                                        §
                              Plaintiff,
                                                        § Adv. Proc. No. 21-03082-sgj
 vs.
                                                        §
                                                        § Case No. 3:22-cv-789
 HIGHLAND CAPITAL MANAGEMENT
                                                        §
 FUND ADVISORS LP,
                                                        §
                                                        §
                              Defendant.
                                                        §
                                                        §

                             ORDER CONSOLIDATING CASES

       Pursuant to Federal Rule of Civil Procedure 42(a) and Lester v. Exxon Mobil Corp., 879

F.3d 582, 592 (5th Cir. 2018), the Court sua sponte orders consolidation of Highland Capital

Management, L.P. v. Highland Capital Management Fund Advisors LP, No. 3:22-cv-789 under

lead case, Highland Capital Management, L.P. v. Highland Capital Management Fund Advisors,

L.P., No. 3:21-cv-881. Both cases are already assigned to the Court. The Court finds that the

interests of judicial efficiency are best served by consolidation of all Note Cases under Case No.

3:21-cv-881, and 3:22-cv-789 is another (specifically, the tenth Note Case) in this district arising

from the Highland bankruptcy proceedings. The other nine Note Cases have already been

consolidated under 3:21-cv-881 by prior order of the Court.

                                                 1
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IT IS HEREBY ORDERED THAT:

      1.     The Note Case, 3:22-cv-789, is consolidated under the lead Note Case, No. 3:21-

             cv-881 for all purposes other than that Case No. 3:21-cv-881-X may be tried

             separately (or that the determination of whether such case shall be tried separately

             is deferred until after all summary judgement motions are heard and decided), to be

             heard by the undersigned.

      2.     All future filings related to all Note Cases shall be filed on the docket for No. 3:21-

             cv-881.

IT IS SO ORDERED this 20th day of April, 2022.



                                                    ______________________________
                                                    BRANTLEY STARR
                                                    UNITED STATES DISTRICT JUDGE




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